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                                                                       1    Shirley S. Cho (CA Bar No. 192616)
                                                                            PACHULSKI STANG ZIEHL & JONES LLP
                                                                       2    10100 Santa Monica Blvd., 13th Floor
                                                                            Los Angeles, CA 90067
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                                                                       4    Email: scho@pszjlaw.com

                                                                       5    Counsel for Secured Creditor Toni Ko

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                                                                       8                                 UNITED STATES BANKRUPTCY COURT

                                                                       9                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                      10                                        LOS ANGELES DIVISION

                                                                      11   In re:                                           Case No.: 2:20-bk-17433-VZ
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12   JONG UK BYUN,                                    Chapter 11
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13                                   Debtor.          STATEMENT AND RESERVATION OF
                                            ATTOR NE YS A T L AW




                                                                                                                            RIGHTS RE DEBTOR’S NOTICE OF MOTION
                                                                      14                                                    AND MOTION FOR ORDER (1) APPROVING
                                                                                                                            THE SALE OF THE REAL PROPERTY
                                                                      15                                                    COMMONLY KNOWN AS 8201 SANTA FE
                                                                                                                            AVENUE, HUNTINGTON PARK, CA 90255,
                                                                      16                                                    SUBJECT TO OVERBIDDING PROCEDURES
                                                                                                                            PURSUANT TO 11 U.S.C. § 363; ETC.
                                                                      17
                                                                                                                            [Related to Docket Nos. 373, 379]
                                                                      18
                                                                                                                            Hearing Date: November 30, 2021
                                                                      19                                                    Time: 11:00 a.m.
                                                                                                                            Court: Bankruptcy Court
                                                                      20                                                    255 East Temple Street, Crtrm. 1368
                                                                                                                            Los Angeles, CA
                                                                      21                                                    Judge: Honorable Vincent P. Zurzolo
                                                                      22
                                                                                    Toni Ko (“Secured Creditor”), a secured creditor in the above-captioned case, hereby files
                                                                      23
                                                                           this statement and reservation of rights (the “Reservation of Rights”) to the Debtor’s Notice of
                                                                      24
                                                                           Motion and Motion for Order (1) Approving the Sale of the Real Property Commonly Known as
                                                                      25
                                                                           8201 Santa Fe Avenue, Huntington Park, CA 90255, Subject to Overbidding Procedures Pursuant to
                                                                      26
                                                                           11 U.S.C. § 363; (2) Authorizing that Such Sale Be Free and Clear of Liens, Claims, Interests, and
                                                                      27
                                                                           Encumbrances of Any Nature Whatsoever Pursuant to 11 U.S.C. § 363; (3) Extinguishing Existing
                                                                      28


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                                                                       1   Lease; (4) Rejecting All Other Executory Contracts And Unexpired Leases; (5) Authorizing Payment

                                                                       2   Directly Out of Escrow of the Claim of Hyundai Steel Company, Escrow Costs, Brokers’ Fee and

                                                                       3   Liens Senior to the Liens of Hyundai Steel Company; (6) Finding that Buyer is a Good Faith Buyer

                                                                       4   Entitled to the Protections of Section 363(m) of the Bankruptcy Code; (7) Waiving the Fourteen-Day

                                                                       5   Stay Provision of Bankruptcy Rule 6004; (8) Approving Compromise of Controversy with Hyundai

                                                                       6   Steel Company and Authorizing General Mutual Releases; and, (9) Granting Other Relief it Deems

                                                                       7   Just and Appropriate [Docket No. 379] (the “Motion”)1 filed by Jong Uk Byun (“Debtor”). In

                                                                       8   further support of this Objection, Secured Creditor respectfully represents as follows:

                                                                       9                                                     STATEMENT

                                                                      10              Secured Creditor holds a valid, perfected lien on the property proposed to be sold by the

                                                                      11   Motion. Secured Creditor is in a second lien position after Hyundai Heavy. On account of unpaid
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12   principal, interest, fees, and costs owing on a promissory note, Secured Creditor is owed not less
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13   than $1.29 million and Secured Creditor will be filing an amended proof of claim.
                                            ATTOR NE YS A T L AW




                                                                      14              Secured Creditor has requested copies of any bids received by the Debtor by the Bid

                                                                      15   Deadline be sent to counsel for Secured Creditor and Debtor’s counsel has agreed to provide

                                                                      16   Secured Creditor such copies.

                                                                      17                                         RESERVATION OF RIGHTS

                                                                      18              To the extent that any sales proceeds are received, Secured Creditor reserves the right to

                                                                      19   object to the form of any sale order to the extent that sales proceeds are proposed to be paid in an

                                                                      20   amount insufficient to satisfy the secured claim of Secured Creditor in full. Secured Creditor also

                                                                      21   requests a copy of any proposed sale proceeds waterfall and proposed sale order and reserves all

                                                                      22   rights to comment and object to the same.

                                                                      23   Dated: November 24, 2021                               PACHULSKI STANG ZIEHL & JONES LLP
                                                                      24
                                                                                                                                  By: /s/ Shirley S. Cho
                                                                      25                                                              Shirley S. Cho, Esq.
                                                                      26                                                                  Counsel for Secured Creditor Toni Ko
                                                                      27

                                                                      28
                                                                           1
                                                                               Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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                                                                   1                                PROOF OF SERVICE OF DOCUMENT
                                                                   2    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                        address is:
                                                                   3                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

                                                                   4     A true and correct copy of the foregoing document entitled (specify): STATEMENT AND
                                                                         RESERVATION OF RIGHTS RE DEBTOR’S NOTICE OF MOTION AND MOTION
                                                                   5     FOR ORDER (1) APPROVING THE SALE OF THE REAL PROPERTY COMMONLY
                                                                         KNOWN AS 8201 SANTA FE AVENUE, HUNTINGTON PARK, CA 90255, SUBJECT TO
                                                                   6     OVERBIDDING PROCEDURES PURSUANT TO 11 U.S.C. § 363; ETC. will be served or was
                                                                         served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
                                                                   7     manner stated below:

                                                                   8    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
                                                                        controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
                                                                   9    hyperlink to the document. On (date) November 26, 2021, I checked the CM/ECF docket for this bankruptcy
                                                                        case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
                                                                  10    List to receive NEF transmission at the email addresses stated below:

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                                 Service information continued on attached page
                                                                  12
                                                                        2. SERVED BY UNITED STATES MAIL:
                                        LOS ANGELES, CALIFORNIA




                                                                  13    On (date) __________________, I served the following persons and/or entities at the last known addresses
                                           ATTORNEYS AT LAW




                                                                        in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
                                                                  14    envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
                                                                        here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
                                                                  15    document is filed.

                                                                  16
                                                                                                                                 Service information continued on attached page
                                                                  17
                                                                        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
                                                                  18    (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
                                                                        November 24, 2021, I served the following persons and/or entities by personal delivery, overnight mail
                                                                  19    service, or (for those who consented in writing to such service method), by facsimile transmission and/or
                                                                        email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail
                                                                  20    to, the judge will be completed no later than 24 hours after the document is filed.

                                                                  21
                                                                          VIA PERSONAL DELIVERY                                Via E-mail:
                                                                  22      United States Bankruptcy Court                       Giovanni Orantes <go@gobklaw.com>;
                                                                          Central District of California                       David Meadows
                                                                  23      Attn: Hon. Vincent Zurzolo                           <David@davidwmeadowslaw.com>;
                                                                          Edward R. Roybal Federal Bldg./Courthouse            Jones, Evan M. ejones@omm.com
                                                                  24      255 East Temple Street, Suite 1360
                                                                          Los Angeles, CA 90012
                                                                  25                                                             Service information continued on attached page

                                                                  26
                                                                       I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
                                                                  27
                                                                         November 26, 2021          Gini L. Downing                            /s/ Gini L. Downing
                                                                  28     Date                       Printed Name                               Signature


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                                                                       1   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)
                                                                           • David W. Meadows david@davidwmeadows.com
                                                                       2   • Kelly L. Morrison kelly .l.morrison@usdoj.gov
                                                                           (On behalf of US Trustee (LA))
                                                                       3   • Giovanni Orantes go@gobklaw.com, gorantes@orantes-law.com,
                                                                       4   (Debtor's Counsel) cmh@gobklaw.com, gobklaw@gmail.com,
                                                                           go@ecf.inforuptcy.com,
                                                                       5   orantesgr89122@notify.bestcase.com
                                                                           • Valerie Smith claims@recoverycorp.com
                                                                       6   (Interested Party Courtesy NEF)
                                                                           • U.S. Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                       7   • Theron S. Covey tcovey@rasflaw.com
                                                                           (On behalf of Deutsche Bank National Company)
                                                                       8   • M. Jonathan Hayes jhayes@rhmfirm.com
                                                                           (Interested Party Courtesy NEF)
                                                                       9
                                                                           • Shirley S. Cho scho@pszjlaw.com
                                                                      10   (Interested Party Courtesy NEF)
                                                                           • Katrina M. Brown kbrown@pskbfirm.com
                                                                      11   (On behalf of Creditor QuarterSpot, Inc.)
                                                                           • Hal D. Goldflam hgoldflam@frandzel.com
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12   (Interested Party Courtesy NEF) dmoore@frandzel.com
                                                                           • Oscar Estrada oestrada@tcc.lacounty.gov
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13
                                            ATTOR NE YS A T L AW




                                                                           (On behalf of Creditor LA County Treasurer and Tax Collector)
                                                                           • Michael T. Leary, Carrie V. Hardman MTLeary@winston.com, ecf _ sf@winston.com,
                                                                      14   (Interested Party Courtesy NEF) mike-leary-2899@ecf.pacerpro.com,
                                                                      15   pacercourtilfe@winston.com,
                                                                           chardman@winston.com
                                                                      16   • Robert P. Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com,
                                                                           (Interested Party Courtesy NEF) goeforecf@gmail.com
                                                                      17   • Daniel E. Park dpark@parksylvalaw.com
                                                                           (On behalf of Creditors Daniel Park, Joan Park, and Jourdain DeWerd)
                                                                      18

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